
*721OPINION.
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The only dispute between petitioner and respondent is with reference to the March 1, 1913, value of the property in question.
*722At the hearing on this proceeding petitioner introduced the testimony of three witnesses each of whom has been engaged in real estate business since prior to the erection of the building in question. Each of those witnesses was thoroughly familiar with the property in question and with the March 1, 1913, market values of Pasadena property. They testified as to the growth of the city’s population, the expansion of business properties eastward on Colorado Street and the steady increase in property values during the years 1907 to 1913, inclusive. There was also testimony given at the hearing to the effect that assessed valuations steadily increased during those years for the purposes of county taxes.
We are of the opinion that the evidence establishes that the March 1, 1913, fair market'value of petitioner’s land exclusive of improvements, was $1,500 per front foot, making a total of $175,500. One expert witness testified that the building. could not be reproduced in 1913 for less than 25 cents per cubic foot. All of the expert testi-money was to the effect that the March 1, 1913, value of the building was in excess of its cost.. We are of the opinion that the witnesses on behalf of petitioner are well qualified to formulate a sound opinion as to the March 1, 1913, fair market value of the property in question, and have found that such value was not less than $287,000.
The sale price is less than the March 1,1913, value of $175,500 for the land and $287,000 for the building depreciated at a rate of .022304 per annum from that date to date of sale, but said sale price is in excess of cost properly depreciated at a rate of 2 per cent per annum from date of construction to date of sale, resulting in no gain or loss to petitioner from the said transaction.
Judgment will be entered on W days’ notice, pursuant to Rule 50.'
